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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

MARK SWEITZER, derivatively on behalf of
                                           C.A. No.: _________________
FASTLY, INC.,

                   Plaintiff,
                                           JURY TRIAL DEMANDED
      v.

TODD NIGHTINGALE, RONALD KISLING,
AIDA ÁLVAREZ, ARTUR BERGMAN,
RICHARD DANIELS, DAVID HORNIK,
PAULA LOOP, CHARLES MEYERS,
CHRISTOPHER PAISLEY, and VANESSA
SMITH,

                   Defendants,

      and

FASTLY, INC.,

                   Nominal Defendant.



            VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT
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                                        INTRODUCTION

       Plaintiff Mark Sweitzer (“Plaintiff”), by and through his counsel, derivatively on behalf of

Nominal Defendant Fastly, Inc. (“Fastly” or the “Company”), submits this Verified Stockholder

Derivative Complaint against Defendants (defined herein) and alleges the following upon

information and belief, except as to those allegations concerning Plaintiff, which are alleged upon

personal knowledge. Plaintiff’s information and belief is based upon, among other things, his

counsel’s investigation, which included, inter alia, review and analysis of: (i) regulatory filings

made by Fastly with the United States Securities and Exchange Commission (“SEC”); (ii) press

releases issued and disseminated by Fastly; (iii) a securities class action against certain officers

and members of the Company’s Board of Directors (the “Board”) alleging issuance of false and

misleading statements of material fact and the omission of material facts necessary to make other

statements made not misleading, between February 15, 2024 and May 1, 2024 (the “Relevant

Period”) with respect to Fastly’s business, operations, and prospects; and (iv) other publicly

available information, including media and analyst reports, concerning Fastly.
                                  NATURE OF THE ACTION

       1.      This is a stockholder derivative action asserted on behalf of Nominal Defendant

Fastly against certain officers and the members of the Company’s Board for the claims asserted

herein to recover damages caused to the Company.

       2.      Fastly provides an Infrastructure-as-a-Service (“IaaS”) cloud platform that purports

to enable developers to build, secure, and deliver digital experiences. The Company’s edge cloud

platform helps top brands deliver fast, safe, and engaging online experiences through edge

computing, delivery, security, and observability offerings that improve site performance, enhance

security, and empower innovation at a global scale.

       3.      The Company boasts that it provides its customers with a “modern architecture”

that delivers: (i) built-in security that provides developers and security operations teams with a

fast, safe environment to create, build, and run modern applications; (ii) configurability and control

that optimize caching and customize rules, allowing customers to instantly activate or deactivate


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caching and rules; and (iii) real-time log streaming that purports to offer instant visibility into

traffic, performance, threats, and troubleshooting.

       4.       The Company purports to achieve its configurability and control features through

its Content Delivery Network (“CDN”), a geographically distributed network of proxy servers and

data centers.

       5.       Content owners such as media companies and e-commerce vendors pay CDN

operators to deliver their content to their end users. Certain companies have adopted a “Multi-

CDN” framework, which combines multiple CDNs from various providers into one large global

network. In 2023, a “consolidation trend” emerged in the CDN industry, in which several

prominent Multi-CDN companies reduced the number of CDN vendors they had previously

managed in an effort to simplify their operations and increase efficiency, opting instead to manage

fewer CDN vendors. Facing reduced competition, Fastly was able to materially increase its market

share and drive favorable sequential growth.
       6.       On February 14, 2024, the Company issued a press release announcing revenue

guidance for 2024 of between $580 million and $590 million (the “February 2024 Press Release”).

In the February 2024 Press Release, the Company touted its “demonstrated progress . . . in

operational and financial rigor [that] result[ed] in strong gross margins and non-GAAP net

income[.]” The same press release also stated that Fastly’s “go-to-market, packaging[,] and

channel efforts through 2023 delivered an inflection in [its] customer acquisition” for the year

2023. Finally, the February 2024 Press Release touted that the Company was well-positioned for

2024 to “driv[e] [its] mission to make every user experience fast, safe, and engaging.”

       7.       Throughout the Relevant Period, the Individual Defendants (defined below) made

materially false and/or misleading statements and failed to disclose material adverse facts about

the Company’s business, operations, and prospects. Specifically, the Individual Defendants failed

to disclose to investors, inter alia, that: (i) contrary to its representations to investors, Fastly’s

growth rate – which had been temporarily accelerated by the 2023 CDN consolidation trend – was

slowing down among the Company’s largest customers; (ii) as a result, Fastly was unlikely to be


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able to maintain its 2023 increased market share; (iii) the deaccelerated growth rate was likely to

impact the Company’s revenue growth in a materially negative way; (iv) accordingly, the

Company was unlikely to meet its previously issued revenue guidance for its full-year 2024; (v)

Fastly had inadequate internal controls, and (vi) as a result, the Individual Defendants’ positive

statements about the Company’s business, operations, and prospects were materially false and

misleading and/or lacked a reasonable basis.

       8.      On May 1, 2024, Fastly issued a press release, slashing its full-year 2024 revenue

guidance from between $580 million and $590 million to between $555 million and $565 million

– a $25 million decrease (the “May 2024 Press Release”). The new guidance was well below

consensus estimates of $584.62 million.

       9.      On May 2, 2024, Bank of America (“BofA”) downgraded the Company’s stock
from a “Buy” rating to an “Underperform” rating and slashed Fastly’s stock price target by more

than half, from $18 to $8. BofA noted that the “[d]ecelerating growth in Fastly’s largest customers,

share loss in delivery, and limited visibility in 2H cause us to question a rebound in 2024,” and

that “[w]hile we continue to like Fastly’s positioning in the edge compute market, we see it as a

2025 opportunity instead of a near-term growth driver.”

       10.     On this news, the Company’s stock price dropped $4.14 per share, or 32.02%, from

a closing price of $12.93 per share on May 1, 2024, to close at $8.79 per share on May 2, 2024.

       11.     As a direct and proximate result of the misconduct described herein by Individual

Defendants, Fastly has sustained significant damages as explained below.

                                JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a ) of the Securities Exchange Act of

1934 (the “Exchange Act”) (15 U.S.C. § 78n(a)(1)), and Rule 14a-9 (17 C.F.R. §240-.14a-9)

promulgated thereunder, as well as Sections 10(b) of the Exchange Act (15 U.S.C. § 78j(b)), Rule

10b-5 (17 C.F.R. § 240.10b-5) promulgated thereunder, and Section 21D (15 U.S.C. § 78u-4(f)).

The Court has supplemental jurisdiction over the pendent state law claims pursuant to 28 U.S.C.


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§ 1367(a) because the state law claims form part of the same case or controversy. This action is

not a collusive one designed to confer jurisdiction on a court of the United States that it would not

otherwise have.

         13.    This Court has jurisdiction over each defendant because they reside in this District

or have sufficient minimum contacts with this District to render the exercise of jurisdiction by the

Court permissible under traditional notions of fair play and substantial justice. The Court has

personal jurisdiction over the Nominal Defendant because it is authorized to do business in this

state.

         14.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

portion of the transactions and wrongs complained of herein, including the Individual Defendants’

primary participation in the wrongful acts and violation of fiduciary duties owed to Fastly. Venue

is also proper pursuant to 28 U.S.C. § 1401 because Nominal Defendant Fastly could have sued

the same defendants in this District.
                                              PARTIES

         15.    Plaintiff is a Fastly stockholder and has continuously held Fastly stock from the

time of the wrongdoing alleged herein until the present. Plaintiff will fairly and adequately

represent Fastly’s interest in this action.

         16.    Nominal Defendant Fastly is incorporated under the laws of Delaware, and its

principal executive offices are located at 475 Brannan Street, Suite 300, San Francisco, California

94107. Fastly’s common stock trades on the New York Stock Exchange (“NYSE”) under the

symbol “FSLY.”

         17.    Todd Nightingale (“Nightingale”) has served as the Company’s Chief Executive

Officer (“CEO”) and a member of the Board since September 2022. For the Company’s fiscal

year 2023, Nightingale received a base salary of $600,000, almost $9 million in stock awards, and

$586,200 in non-equity incentive plan compensation, for a total of almost $10.2 million. During

the Relevant Period, Nightingale sold 99,348 shares of Company stock for proceeds of almost $1.5

million, as shown by the chart below.


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                 Date of          Number of
              Transaction         Shares Sold         Price          Proceeds
                   2/16/2024            50,708          $16.09        $815,891.72
                   2/26/2024            48,640          $13.93        $677,555.20
             Total                      99,348                      $1,493,446.92

       18.    Defendant Ronald Kisling (“Kisling”) has served as the Company’s Chief Financial

Officer (“CFO”) since August 2021. For the Company’s full year 2023, Kisling received a base

salary of $600,000, and over $4 million in stock awards, for a total of over $4.6 million. During

the Relevant Period, Kisling sold 47,852 shares of Company stock for proceeds of $674,400.78,

as shown by the chart below.

                 Date of         Number of
               Transaction       Shares Sold         Price          Proceeds
                  2/16/2024             12,235         $16.09        $196,861.15
                  2/26/2024             14,939         $13.93        $208,100.27
                  2/29/2024              1,192         $14.33         $17,081.36
                    4/1/2024            12,000         $12.92        $155,040.00
                  4/16/2024              7,486         $13.00         $97,318.00
              Total                     47,852                       $674,400.78

       19.    Defendant Artur Bergman (“Bergman”) has served as a member of the Board since

March 2011 and as the Company’s Chief Technology Officer (“CTO”) since April 2024.

Previously, Bergman served as Fastly’s Chief Architect from February 2020 to April 2024, as CEO

from March 2011 to February 2020, and as Chair of the Board from February 2020 to April 2023.

For the Company’s fiscal year 2023, Bergman received a base salary of $500,000, almost $5.3

million in stock awards, and over $6.6 million in options, for a total of almost $12.4 million.

During the Relevant Period, Bergman sold 21,560 shares of Company stock for proceeds of

$330,605.86, as shown by the chart below.

                  Date of        Number of
               Transaction       Shares Sold          Price         Proceeds
                2/16/2024               9,646            $16.09     $155,204.14
                2/20/2024               8,387            $15.03     $126,056.61
                2/21/2024                 200            $15.00       $3,000.00
                2/26/2024               3,327            $13.93      $46,345.11
               Total                   21,560                       $330,605.86



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       20.     Defendant Aida Álvarez (“Álvarez”) has served as a member of the Board since

August 2019. For the Company’s fiscal year 2023, Álvarez received $45,000 in earned fees or

paid in cash and stock awards of $199,994, for a total of $244,994.

       21.     Defendant Richard Daniels (“Daniels”) has served as a member of the Board since

November 2021 and as a member of the Audit Committee since November 2021. For the

Company’s fiscal year 2023, Daniels received $40,000 in earned fees or paid in cash and stock

awards of $199,994, for a total of $239,994. On March 15, 2024, Daniels sold 7,766 of Company

stock for proceeds of $98,317.56, as shown by the chart below.

                  Date of         Number of
                Transaction       Shares Sold          Price          Proceeds
                   3/15/2024             7,766            $12.66       $98,317.56

       22.     Defendant David Hornik (“Hornik”) has served as a member of the Board since

February 2013 and as Chair of the Board since April 2023. Previously, he served as Lead

Independent Director of the Board from February 2020 to April 2023. For the Company’s fiscal

year 2023, Hornik received $63,352 in earned fees or paid in cash and stock awards of $199,994,

for a total of $263,346.

       23.     Defendant Paula Loop (“Loop”) has served as a member of the Board since July

2021 and as a member of the Audit Committee since July 2021. For the Company’s fiscal year

2023, Loop received $43,750 in earned fees or paid in cash and stock awards of $199,994, for a

total of $243,744.

       24.     Defendant Charles Meyers (“Meyers”) has served as a member of the Board since

July 2021. For the Company’s fiscal year 2023, Meyers received $42,898 in earned fees or paid

in cash and stock awards of $199,994, for a total of $242,892.

       25.     Defendant Christopher Paisley (“Paisley”) has served as a member of the Board

since July 2018 and as Chair of the Audit Committee since at least 2020. For the Company’s fiscal

year 2023, Paisley received $53,750 in earned fees or paid in cash and stock awards of $199,994,




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for a total of $253,744. On February 20, 2024, Paisley sold 1,000 shares of Company stock for

proceeds of $15,600 as shown by the chart below.


                 Date of          Number of
               Transaction        Shares Sold          Price          Proceeds
                  2/20/2024              1,000            $15.60       $15,600.00

       26.     Defendant Vanessa Smith (“Smith”) has served as a member of the Board since

November 2021. For the Company’s fiscal year 2023, Smith received $33,750 in earned fees or

paid in cash and stock awards of $199,994, for a total of $233,744.

       27.     The following Defendants are hereinafter referred to as the “Individual

Defendants”: Nightingale, Kisling, Bergman, Álvarez, Daniels, Hornik, Loop, Meyers, Paisley,

and Smith.

       28.     The following Individual Defendants are collectively referenced herein as the

“Director Defendants”: Nightingale, Bergman, Álvarez, Daniels, Hornik, Loop, Meyers, Paisley,

and Smith.

       29.     The following Individual Defendants are collectively referenced herein as the

“Insider Trading Defendants”: Nightingale, Kisling, Bergman, Daniels, and Paisley.

       30.     The following Individual Defendants are collectively referenced herein as the

“Audit Committee Defendants”: Daniels, Loop, and Paisley.

       31.     The Individual Defendants and Nominal Defendant are collectively referenced

herein as “Defendants.”

                 THE INDIVIDUAL DEFENDANTS OWE FIDUCIARY
                DUTIES TO THE COMPANY AND ITS STOCKHOLDERS

       32.     At all times relevant to this case, the conduct of the Individual Defendants was

governed by well-recognized rules to protect the Company and its stockholders, the members of

the public who had invested in Fastly.

       33.     Because of their positions as officers and/or directors of the Company and their

ability to control its business and corporate affairs, the Individual Defendants owed the Company


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and its stockholders the fiduciary obligations of good faith, loyalty, and candor and were and are

required to use their utmost ability to control and manage the Company in a fair, just, honest, and

equitable manner.

       34.     The Individual Defendants were and are required to act in furtherance of the best

interests of the Company and its stockholders to benefit all stockholders equally and not in

furtherance of their personal interest or benefit.

       35.     Each of the Company’s directors owes to the Company and its stockholders

fiduciary duties of care and loyalty, including good faith, oversight, and candor, to exercise good

faith and diligence in the administration of the affairs of the Company and in the use and

preservation of its property and assets.

       36.     Because of their positions of control and authority as directors and/or officers of

the Company, the Individual Defendants were able to and did, directly and/or indirectly, exercise

control over the wrongful acts alleged herein.

       37.     To discharge their duties, the Individual Defendants were required to exercise

reasonable and prudent supervision over the management, policies, practices, and controls of the

Company. By virtue of such duties, the officers and directors of Fastly were required to do the

following:

               •       Ensure that the Company complied with its legal obligations and

                       requirements, including acting only within the scope of its legal authority

                       and disseminating truthful and accurate statements to the SEC and the

                       investing public;

               •       Conduct the affairs of the Company in a lawful, efficient, and business-like

                       manner to make it possible for the Company to provide the highest quality

                       performance of its business, to avoid wasting the Company’s assets, and to

                       maximize the value of the Company’s stock;

               •       Properly and accurately inform investors and analysts as to the true financial

                       condition of the Company at any given time, make accurate statements


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                       about the Company’s financial results and prospects, and ensure that the

                       Company maintained an adequate system of financial controls such that the

                       Company’s financial reporting would be true and accurate at all times;

               •       Remain informed as to how the Company conducted its operations, and,

                       upon notice of imprudent or unsound conditions or practices, make

                       reasonable inquiry into the nature and cause of such conditions and

                       practices, correct such conditions or practices, and make such disclosures

                       as necessary to comply with federal and state securities laws; and

               •       Ensure that the Company was operated in a diligent, honest, and prudent

                       manner in compliance with all applicable federal, state, and local laws,

                       rules, and regulations.

       38.     The Individual Defendants knowingly violated their obligations as directors and/or

officers of the Company, acting without good faith and consciously disregarding their duties to the

Company and its stockholders despite their knowledge of the risk of serious injury to the Company.

       39.     Because of their positions of control and authority, the Individual Defendants were

able to exercise control over the wrongful acts complained of herein, as well as the contents of the

various public statements issued by Fastly.

                     SPECIFIC CORPORATE GOVERNANCE
               RESPONSIBILITIES OF THE INDIVIDUAL DEFENDANTS

       40.     The Fastly Board has adopted Fastly’s Code of Business Conduct and Ethics (the

“Code of Conduct”) to deter wrongdoing, which imposes additional duties and responsibilities on

all employees, including the Individual Defendants, stating, in relevant part:

       The Original Fastly Code of Conduct
       The Fastly Code of Conduct is ten short statements that set out the expectations
       for how Fastly personnel work and represent Fastly. And while this [Code of
       Conduct] is a fresh look for our conduct and ethical expectations, we think these
       ten statements are worthy of living on as one of our Company policies:

       1.      We comply with all applicable laws and regulations



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                                     *      *       *

     5.     We operate honestly, ethically, and transparently

                                     *      *       *

     9.    We enforce our policies with appropriate discipline after thorough and
           discreet investigation

                                     *      *       *

     Corporate Disclosure Policy - Principles

     1.     The initial disclosure of material information by Fastly will generally be
            made only through press releases, SEC filings, or other means reasonably
            designed to provide broad, non-exclusionary distribution of the
            information to the public so that all members of the investing public will
            have an equal opportunity to simultaneously access the material
            information.

     2.     Rumors concerning the business and affairs of Fastly may circulate from
            time to time, and our general policy is not to comment on such rumors.

     3.     We will not confirm or update material information about us that has been
            previously disclosed to the public, except in a manner consistent with the
            procedures outlined in this policy.

                                     *      *       *

     Insider Trading

     The bottom line on insider trading is that if you are aware of material nonpublic
     information about Fastly or another publicly traded company that Fastly has
     business relationships with and you trade in Fastly’s or such other company’s
     securities, you have broken the law. It does not matter whether the decision to
     buy or sell was influenced by the material nonpublic information, how many
     shares you buy or sell, or whether it has an effect on the stock price.

     Regardless of who you are, if you know something material about the value of a
     security that not everyone knows and you trade (or convince someone else to
     trade) in that security, you may be found guilty of insider trading. If you are
     uncertain of whether information might be “material” or “nonpublic” do not
     hesitate to reach out to The Office of the General Counsel.

     Insider Trading Policy - Principles

     1.     Fastly personnel are responsible for understanding the obligations that
            come with having access to material nonpublic information and wanting
            to transact in Fastly securities.

     2.     Fastly personnel who are aware of material nonpublic information
            relating to Fastly may not engage in transactions in Fastly’s securities
            except as permitted by this policy and applicable law.



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       3.     Fastly personnel who are aware of material nonpublic information
              relating to Fastly may not recommend the purchase or sale of any Fastly’s
              securities.

       4.     Fastly personnel may not disclose material nonpublic information to
              persons within Fastly whose jobs do not require them to have that
              information.

       5.     Fastly personnel may not disclose material nonpublic information outside
              of Fastly unless the disclosure is made in accordance with a specific Fastly
              policy that authorizes such disclosure.

       6.     Unless authorized by a Fastly policy and as required by their role at the
              [C]ompany, Fastly personnel may not assist anyone engaged in
              transactions in Fastly securities, the recommendation to buy or sell Fastly
              securities, or the disclosure of material nonpublic information.
                         THE DIRECTOR DEFENDANTS ON THE
                   AUDIT COMMITTEE OWE ADDITIONAL DUTIES

       41.    The Audit Committee Charter (the “Audit Charter”) places additional duties and

responsibilities upon the members of the Board’s Audit Committee, which consisted of Daniels,

Loop, and Paisley during the Relevant Period.

       42.    Pursuant to the Audit Charter, the overarching duties of the Audit Committee and

its members include the following:

       Auditor Management

       3. Auditor Independence. At least annually, the [Audit] Committee will assess
       the qualifications, performance, and independence of the Auditors, or in the case
       of prospective Auditors, before they are engaged. That assessment will include
       reviewing written disclosures from any Auditors regarding any relationships they
       have that may affect independence, as defined by applicable rules and regulations.
       The [Audit] Committee will review a written statement from any Auditors
       affirming their independence, and assess, consider, and discuss with them any
       potential relationships concerning their objectivity and independence.

                                     *     *         *

       6. Internal Control Report. At least annually, the [Audit] Committee will
       review a report by the Auditors describing its internal quality-control procedures
       and any material issues raised by (i) that firm’s internal quality-control review,
       (ii) any peer review of the firm’s internal quality-control procedures or review,
       or (iii) any inquiry or investigation by governmental or professional authorities
       conducted in the last five years of any audit performed by the Auditors.

       Annual Audits and Quarterly Reviews:

       7. Quarterly Reviews and Annual Audit Results. The [Audit] Committee will
       review with management and the Auditors the results of the quarterly financial


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     reviews and annual audit as well as other significant issues regarding accounting
     principles and financial-statement presentation, including:

        ● the Auditors’ assessment of the quality of the Company’s accounting
        principles and practices;

        ● the Auditors’ views about qualitative aspects of the Company’s critical
        accounting policies and significant accounting practices, the reasonableness
        of significant judgments, and estimates (including material changes in
        estimates and analyses of the effects of alternative generally accepted
        accounting principles (“GAAP”) methods on the financial statements), and
        any other significant reporting issues and judgments, significant regulatory,
        legal, and accounting initiatives, or developments that may have a material
        impact on the Company’s financial statements, compliance programs, and
        policies;

        ● all known and likely misstatements identified during the reviews and audit
        (other than those the Auditors believe to be trivial);

        ● the adequacy of the disclosures in the financial statements;

        ● any accounting adjustments that were noted or proposed by the Auditors
        but were “passed” (as immaterial or otherwise);

        ● the potential impact of the Company’s financial statements of alternative
        treatments and any off-balance sheet structures;

        ● the scope, design, adequacy[,] and effectiveness of internal control over
        financial reporting and the Company’s disclosure controls and procedures,
        and reports on significant findings and recommendations with respect to
        internal controls over financial reporting, together with management
        responses and any special audit steps adopted in light of any material control
        deficiencies; and

        ● any other matters that the Auditors must communicate to the [Audit]
        Committee under applicable accounting or auditing standards.

     The [Audit] Committee will review the Company’s “Management’s Discussion
     and Analysis of Financial Condition and Results of Operations” and “Risk
     Factors,” as appropriate, with management and the Auditors. The [Audit]
     Committee will be responsible for recommending to the Board whether the
     proposed annual audited financial statements should be included in the
     Company’s Annual Report on Form 10- K.

     8. Earnings Announcements. The [Audit] Committee will review and discuss
     with management and the Auditors any earnings press releases and other financial
     information and guidance regarding the Company’s results of operations
     provided publicly or to ratings agencies. The Chairperson of the [Audit]
     Committee may represent the entire [Audit] Committee for the purposes of this
     discussion.

     9. Proxy Report. The [Audit] Committee will oversee the preparation of the
     report of the [Audit] Committee required by applicable rules and regulations to
     be included in the Company’s annual proxy statement.


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                                  RELEVANT BACKGROUND

           43.   Fastly offers an edge cloud platform that the Company claims to deliver “fast, safe

and engaging digital experiences” by “focusing holistically on the edge cloud from developer

inspiration to end-user experience”.      Fastly’s edge cloud platform, a type of IaaS, assists

developers in building, securing, and delivering digital experiences, facilitating faster e-commerce

transactions, business software downloads, and video streaming to mobile devices.

           44.   According to the Company, the edge cloud platform represents the convergence of

the CDN with functionality that has been traditionally delivered by hardware-centric appliances
such as Application Delivery Controllers, Web Application Firewalls, Bot Detection, Distributed

Denial of Service, and observability solutions.

           45.   Fastly serves enterprises, mid-market companies, and technology-savvy

organizations across numerous industries.

           46.   In 2023, the CDN market underwent significant consolidation as several developers

and media companies combined their CDN needs into a single large global network, known as the

Multi-CDN framework. This consolidation resulted in fewer CDN vendors in the market, creating

an opportunity for remaining providers like Fastly to increase their revenue growth and market

share. The Multi-CDN framework was initially seen as a positive development for established

players in the industry, as it theoretically allowed them to capture larger portions of the market.

           47.   Indeed, Fastly’s revenue for the year ended December 31, 2023 was $506 million,

an increase from the year ended December 31, 2022 revenue of $432.7 million.

                    THE INDIVIDUAL DEFENDANTS BREACH THEIR
                  DUTIES TO THE COMPANY AND ITS STOCKHOLDERS

           48.   On February 14, 2024, after market hours, the Company issued the February 2024

Press Release announcing its fourth quarter and full year 2023 financial results. The February

2024 Press Release provided full-year revenue guidance for 2024 of between $580 million and

$590 million. In relevant part, the February 2024 Press Release quoted defendant Nightingale as

stating:


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       This quarter demonstrated the progress we’ve made in operational and financial
       rigor resulting in strong gross margins and non-GAAP net income[.]

       Our go-to-market, packaging[,] and channel efforts through 2023 delivered an
       inflection in our customer acquisition as we closed out the year position[ing] us
       well for 2024, driving our mission to make every user experience fast, safe, and
       engaging.

       49.     During the scripted portion of the related earnings call the same day (the “February

2024 Earnings Call”), Nightingale stated, in relevant part:

       I’m pleased to report that we closed out 2023 with revenue of $506 million,
       representing 17% year-over-year growth and coming in above the original
       $495 million to $505 million range we guided to one year ago. We reported
       record fourth-quarter revenue of $137.8 million, which grew 15% year[-]over[-
       ]year and 8% quarter[-]over[-]quarter. This result came in at the lower end of our
       fourth quarter guidance range, driven by weaker than anticipated international
       traffic, offset by seasonally strong live streaming and gaming activity.

                                        *       *        *

       Our customer retention efforts were stable in the fourth quarter with our [last
       twelve months] [net revenue retention] at 113%, down slightly from Q3’s 114%.
       Our total customer count in the fourth quarter was 3,243, which increased by 141
       customers, compared to Q3 and increased by 181 customers year[-]over[-]year.
       Enterprise customers totaled 578 in the quarter, an increase of 31 from Q3,
       representing the highest level of sequential growth since we acquired Signal
       Sciences back in 2020. Our new packaging channel program and a renewed
       demand gen [sic] focus are driving a change in the velocity of customer
       acquisition at Fastly, and this is finally starting to show up in these disclosed
       customer accounts.

       As these customers grow with Fastly, they will fuel our revenue growth for years
       to come. This customer growth is also diversifying our revenue among verticals,
       which helps us optimize traffic across our fleet, yielding higher profitability. Our
       sales team has been energized by our recent success with large customer wins.
       Of the 31 new enterprise customers this quarter, 19 were net new to Fastly.
       50.     During the same call, defendant Kisling stated as follows:

       For calendar year 2024, we expect revenue in the range of $580 million to
       $590 million, an annual growth rate of 16% at the midpoint.

                                    *       *        *

       This guidance reflects our expectation for quarter[-]on[-]quarter acceleration and
       revenue growth through the year driven by new customer acquisition and
       continued expansion of existing customers. We expect to continue to see gross
       margin improvement in 2024 and to continue our spending discipline while
       increasing our investment in go-to-market and product development. We
       anticipate our 2024 gross margins will improve by approximately 200 basis



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        points, plus or minus 100 basis points relative to 2023, and to exit the year with
        gross margins at 60% or better.
        51.    On February 22, 2024, the Company filed its full year 2023 report on Form 10-K

with the SEC (the “2023 Form 10-K”), which was signed by the Individual Defendants. The 2023

Form 10-K provided an overview of Fastly’s performance for its 2023 fiscal year. In relevant part,

the 2023 Form 10-K stated:

        Developers on the Fastly platform have a high degree of flexibility with granular
        control and real-time visibility, where they can write and deploy code in a
        serverless environment and push application logic to the edge. Our infrastructure
        is built for the software-defined future. Our network is powerful, efficient, and
        flexible, designed to enable us to rapidly scale to meet the needs of the most
        demanding customers. Our approach to scalable, secure reliability integrates
        security into multiple layers of development: architecture, engineering, and
        operations. That’s why we invest in building security into the fabric of our
        platform, alongside performance. We provide developers and security operations
        teams with a fast and safe environment to create, build, and run modern
        applications.

                                        *       *      *

        For the fiscal years ended December 31, 2023, 2022[,] and 2021, our revenue was
        $506.0 million, $432.7 million, and $354.3 million, respectively. We continue to
        invest in our business and had a net loss of $133.1 million, $190.8 million[,] and
        $222.7 million for the fiscal years ended December 31, 2023, 2022[,] and 2021,
        respectively.

        52.    The 2023 Form 10-K also discussed the Company’s growth strategy, stating inter

alia, that:

        Our Growth Strategy

        Our growth strategy focuses on making our edge cloud platform accessible to a
        broader base of customers through enhancing our product experience,
        investments in technology, and vertical expansion. Key elements of our growth
        strategy include the following:

        •      Product strategy. Built upon a strategy of durable innovation, our
               programmable edge cloud platform creates a consistent and predictable
               pipeline of innovation. We plan to expand existing product lines like
               Network Services and Security, and expect to further incubate newer
               product lines like Compute and Observability for future growth.

        •      With the goal of making it easier for customers to do business with us, we
               will continue to build out a single, unified platform where they can access
               and manage all their Fastly services in one place. We will simplify
               customer onboarding and service usage, through easy access to self-
               training information from within the Fastly app, and more code samples


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               and support. In 2023, we simplified our pricing and packaging in order
               to make it easier for customers to buy and renew our services.

       •       We launched our Next-Gen WAF in Q1 of 2022. This enables us to
               protect customers’ applications and APIs on premise, in the cloud and on
               the edge. We plan to continue to invest in application security with the
               goal of making it easier for developers to seamlessly protect their apps
               and APIs wherever they are without impacting performance.

       •       Expansion into additional vertical markets. Our platform offers a broad
               range of capabilities. Our differentiated high performance and low-
               latency delivery network and edge compute platform, as well as enhanced
               security capabilities, allows us to serve the needs of our existing
               customers and continue to add customers from a diverse set of industries.

       •       Expand existing customer relationships. Over time, our customers have
               expanded their use of our platform. In more technically savvy
               organizations, developers have championed our solution, paving the way
               for us to engage with business decision makers. For more traditional
               organizations, we are often brought in to initially help facilitate a move to
               the cloud and from there we extend our product to support many other use
               cases. We plan to continually increase wallet-share over time for existing
               customers as we build out new products and features, and as customers
               continue to fully recognize the value of our platform.

       •       Grow our technology partner ecosystem. We operate between and
               complement the “big 3” origin cloud platforms, Amazon Web Services
               (“AWS”), Microsoft (Azure), and Google Cloud Platform, and a growing
               community of companies that provide big data, machine learning, and
               security solutions. In this sense, we act as the unifying layer for a growing
               number of cloud services. As customers consume more cloud and
               software as a service (“SaaS”) offerings, we can create additional value
               and grow with these partners.

       •       International expansion. As our customer base grows, we plan to scale
               our network to bring edge computing closer to where our customers are.
               We believe significant opportunities exist for international growth.
       53.     The 2023 Form 10-K was certified by defendants Kisling and Nightingale pursuant
to the Exchange Act and the Sarbanes-Oxley Act of 2002 (“SOX”). Specifically, Kisling and

Nightingale certified that the 2023 Form 10-K “does not contain any untrue statement of a material

fact or omit to state a material fact necessary to make the statements made, in light of the

circumstances under which such statements were made, not misleading with respect to the period

covered by this report;” and that “the financial statements, and other financial information included

in this report, fairly present in all material respects the financial condition, results of operations

and cash flows of the [Company] as of, and for, the periods presented in this report[.]”



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       54.       The statements referenced in the February 2024 Press Release, the February 2024

Earnings Call, and the 2023 Form 10-K were materially false and misleading and failed to disclose

material adverse facts about the Company’s business, operations, and prospects. Specifically, the

Individual Defendants failed to disclose to investors, inter alia, that:          (i) contrary to its

representations to investors, Fastly’s growth rate – which had been temporarily accelerated by the

2023 CDN consolidation trend – was slowing down among the Company’s largest customers; (ii)

as a result, Fastly was unlikely to be able to maintain its 2023 increased market share; (iii) the

deaccelerated growth rate was likely to impact the Company’s revenue growth in a materially

negative way; (iv) accordingly, the Company was unlikely to meet its previously issued revenue

guidance for its full-year 2024; (v) Fastly had inadequate internal controls, and (vi) as a result, the

Individual Defendants’ positive statements about the Company’s business, operations, and

prospects were materially false and misleading and/or lacked a reasonable basis.
     THE COMPANY ISSUES FALSE AND MISLEADING PROXY STATEMENTS

       55.       On April 24, 2024, Fastly filed a Schedule 14A with the SEC (the “2024 Proxy

Statement”).     Director Defendants Nightingale, Bergman, Álvarez, Daniels, Hornik, Loop,

Meyers, Paisley, and Smith solicited the 2024 Proxy Statement, which was filed pursuant to

Section 14(a) of the Exchange Act. The 2024 Proxy Statement contained material misstatements

and omissions.

       56.       The 2024 Proxy Statement asked Fastly stockholders to vote to, among other things:

(1) re-elect defendants Hornik, Meyers, and Smith to the Board for a three-year term ending as of

the Company’s annual meeting of stockholders in fiscal year 2027; (2) ratify the appointment of

Deloitte & Touche LLP as Fastly’s independent registered public accounting firm for the fiscal

year ending December 31, 2024; and (3) approve, in a non-binding advisory vote, the

compensation of the Company’s named executive officers, including defendants Bergman,

Kisling, and Nightingale, commonly referred to as “Say-on-Pay.”

       57.       The 2024 Proxy Statement stated that as a nominee defendant Hornik was qualified

based on his “experience with technology companies in our industry, his service on public and


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private company boards, and the historical knowledge and continuity” and that Meyers was

similarly qualified due to his “experience in the technology industry and his deep knowledge of

cybersecurity risks faced by leading telecommunications and information technology companies”.

Smith was qualified based on her “experience in human capital management”.

       58.    The 2024 Proxy Statement included the following under the heading “The Role of

the Board of Directors in Risk Oversight”:

              One of the key functions of our Board of Directors is informed oversight
              of our risk management process. In particular, our Board of Directors is
              responsible for monitoring and assessing exposure from strategic risk,
              operational risk and technology risk, information security risk, and
              cybersecurity risk with periodic reporting from our most senior
              information security officer and other members of senior management.
              Our executive officers are responsible for the day-to-day management of
              the material risks we face. Our Board of Directors administers its
              oversight function directly as a whole, as well as through various standing
              committees of our Board of Directors that address risks inherent in their
              respective areas of oversight. Our Audit Committee is responsible for
              overseeing the management of risks associated with our financial
              reporting, accounting and auditing matters, investment risks and foreign
              exchange risks, and tax matters. Our Compensation Committee oversees
              the management of risks associated with talent and our compensation
              policies and programs; and our Nominating and Corporate Governance
              Committee oversees the management of risks associated with director
              independence, conflicts of interest, composition, organization, and
              evaluation of our Board of Directors, director succession planning, law
              and compliance, and oversight of corporate governance, including
              environmental, social and governance (“ESG”)-related matters.
       59.    The 2024 Proxy Statement went on to specify that Audit Committee’s “principal

duties” include, among other things:

              •   helping to ensure the independence and performance of the
                  independent registered public accounting firm;
              •   discussing the scope and results of the audit with the independent
                  registered public accounting firm, and reviewing, with management
                  and the independent accountants, our interim and year-end operating
                  results;
              •   reviewing with the independent registered public accounting firm any
                  communications with respect to auditing or accounting issues;
              •   developing procedures for employees to submit concerns
                  anonymously about questionable accounting or audit matters;
              •   reviewing our policies on risk assessment and risk management
                  related to financial reporting, accounting and auditing matters,
                  investment risks and foreign exchange risks, and tax matters;


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               •   reviewing related party transactions;
                                             *      *      *
               •   reviewing internal audit’s scope and annual plan;
               •   obtaining and reviewing a report by the independent registered public
                   accounting firm at least annually, that describes its internal quality-
                   control procedures, any material issues with such procedures, and any
                   steps taken to deal with such issues when required by applicable law;
               •   approving (or, as permitted, pre-approving) all audit and all
                   permissible non-audit services, other than de minimis non-audit
                   services, to be performed by the independent registered public
                   accounting firm; and
               •   reviewing and discussing any reports of evidence of material violation
                   of securities laws and breaches of fiduciary duty and other similar
                   violations.

       60.     Regarding “Corporate Governance Guidelines”, the 2024 Proxy Statement stated

that the guidelines “assure that the Board of Directors will have the necessary authority and

practices in place to review and evaluate our business operations as needed and to make decisions

that are independent of our management” and that they “are also intended to align the interests of

directors and management with those of our stockholders.”

       61.     The 2024 Proxy Statement also included the following under the heading “Code of

Business Conduct and Ethics”:

               We have adopted a Code of Business Conduct and Ethics (the “Code of
               Conduct”) applicable to all of our employees, executive officers, and
               directors. The Code of Conduct is available on our website at
               investors.fastly.com. The Nominating and Corporate Governance
               Committee of our Board of Directors is responsible for overseeing the
               Code of Conduct and must approve any waivers of the Code of Conduct
               for executive officers and directors. If we make any substantive
               amendments to the Code of Conduct or grant any waiver from a provision
               of the Code of Conduct to any executive officer or director, we will
               promptly disclose the nature of the amendment or waiver on our website.

       62.     The 2024 Proxy Statement was materially misleading because it failed to disclose

that: (i) although Fastly claimed its officers and directors adhered to the Code of Conduct and

Corporate Governance Guidelines, the Individual Defendants violated the Code of Conduct and

Corporate Governance Guidelines; (ii) contrary to the 2024 Proxy Statement’s descriptions of the

Board’s risk oversight responsibilities, the Board and its committees did not adequately exercise



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these functions and were causing or permitting Fastly to issue false and misleading statements;

(iii) the Individual Defendants allowed the Insider Trading Defendants to sell stock at artificially

inflated prices while in possession of material non-public information (discussed below); and (iv)

the Individual Defendants used “pay-for-performance” rewards when calculating executive

compensation despite artificially inflating the Company’s value by issuing false and misleading

statements.

        63.     The 2024 Proxy Statement was further materially misleading because it failed to

disclose to investors, inter alia, that: (i) contrary to its representations to investors, Fastly’s growth

rate – which had been temporarily accelerated by the 2023 CDN consolidation trend – was slowing

down among the Company’s largest customers; (ii) as a result, Fastly was unlikely to be able to

maintain its 2023 increased market share; (iii) the deaccelerated growth rate was likely to impact

the Company’s revenue growth in a materially negative way; (iv) accordingly, the Company was

unlikely to meet its previously issued revenue guidance for its full-year 2024; (v) Fastly had

inadequate internal controls, and (vi) as a result, the Individual Defendants’ positive statements

about the Company’s business, operations, and prospects were materially false and misleading

and/or lacked a reasonable basis.

                   THE INSIDER TRADING DEFENDANTS SELL
               COMPANY STOCK AT ARTIFICIALLY INFLATED PRICES

        64.     During the Relevant Period, Fastly insiders sold Company stock at artificially

inflated prices while in possession of material non-public Company information.

        65.     The Insider Trading Defendants sold Company stock while it was trading at

artificially inflated prices due to the false and misleading statements alleged herein and while they

were in possession of material non-public Company information:

                •       Between February 16, 2024 and February 26, 2024, defendant Bergman

                        sold 21,560 shares of Company stock for proceeds of $330,605.86.

                •       On March 15, 2024, defendant Daniels sold 7,766 shares of Company stock

                        for proceeds of $98,317.56.


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                •      Between February 16, 2024 and April 16, 2024, defendant Kisling sold

                       47,852 shares of Company stock for proceeds of $674,400.78.

                •      Between February 16, 2024 and February 26, 2024, defendant Nightingale

                       sold 99,348 shares of Company stock for proceeds of $1,493,446.92.

                •      On February 20, 2024, defendant Paisley sold 1,000 shares of Company

                       stock for proceeds of $15,600.

        66.     While many of the Company’s stockholders lost significant money with Fastly’s

share price dropping substantially when the truth was revealed, the Insider Trading Defendants

sold their shares at artificially high prices and avoided the staggering losses suffered by

stockholders.

        67.     As a result, the Insider Trading Defendants benefitted from the artificial inflation

of the price of the Company’s stock and the resulting increase in the value of Fastly stock and

stock options they held.
                                  THE TRUTH IS REVEALED

        68.     On May 1, 2024, after market hours, the Company issued the May 2024 Press

Release announcing its first quarter 2024 financial results. The May 2024 Press Release revealed,

among other things, that Fastly had revised and lowered its full year 2024 revenue guidance by

$25 million – down to between $555 million and $565 million from the previously announced

guidance of between $580 million and $590 million, and below consensus estimates of $584.62

million for full year 2024.

        69.     The May 2024 Press Release quoted defendant Nightingale as stating, in relevant

part:
        I am pleased with the first quarter operating performance, posting non-GAAP
        operating loss above our guidance and positive cash flow from operations . . .
        [b]ut, we’re not satisfied with our revenue growth outlook.

        70.     During the related earnings call, defendant Nightingale explained the “factors that

contributed to a challenging short-term environment,” which resulted in Fastly’s revised guidance

for its fiscal year 2024. In relevant part, Nightingale stated:


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       Now let me turn to address our outlook going forward. Our second-quarter
       guidance of 6% to 9% year-over-year growth and modified 2024 annual rent of
       12% year-over-year growth are not where we expected our business to perform,
       and of course, are disappointing.

                                        ⁎       ⁎       ⁎

       There are a few factors that contributed to a challenging short-term environment.
       The biggest factor is a reduction of revenue from a small number of our largest
       customers. The first-quarter revenue from our top 10 customers dropped from
       40% to 38%.

       Many of the top 10 accounts run a multi-vendor strategy. And we did see
       significant volatility here. And there are a few reasons for that. Firstly,
       historically, Fastly has gradually won greater traffic share in our largest accounts.
       But with the timing of rate and volume changes, we saw increased volatility this
       quarter. To be clear, we have not been removed from any of our largest customers
       and we remain in a strong strategic position, each of them long term.

       Secondly, in some accounts, we did see an addition of CDN vendors or reversal
       of the vendor consolidation we saw last year. And thirdly, we are seeing a slight
       uptick from the typical level of rerates with our largest customers, but we have
       not yet seen the commensurate traffic expansion usually associated with this
       motion.
       71.     During the same call, defendant Kisling acknowledged that Fastly “[was] facing a

challenging environment of revenue declines in our largest customers, overshadowing the impact

of new customer acquisition and product pipeline.” Kisling continued, stating:

       Our guidance reflects these dynamics in our business and the visibility that we
       have today. We expect a flattish to modest sequential decline in Q2 revenues
       compared to our Q1 results due to lower traffic, specifically at our largest
       customers. We also will not benefit in 2024 from the favorable impact of the
       CDN consolidation that occurred in early 2023 that drove favorable sequential
       growth in the prior year same period
       72.     On May 2, 2024, BofA downgraded the Company’s stock from a “Buy”
recommendation to an “Underperform” rating, slashing Fastly’s stock price target by over half,

from $18 per share to $8 per share. BofA noted that the “[d]ecelerating growth in Fastly’s largest

customers, share loss in delivery, and limited visibility in 2H cause us to question a rebound in

2024,” and that “[w]hile we continue to like Fastly’s positioning in the edge compute market, we

see it as a 2025 opportunity instead of a near-term growth driver.”




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        73.    On this news, the price of the Company’s stock dropped $4.14 per share, or 32.02%,

from a closing price of $12.93 per share on May 1, 2024, to close at $8.79 per share on May 2,

2024.

                  AN INVESTOR FILES A SECURITIES CLASS ACTION

        74.    On May 24, 2024, a purported purchaser of Fastly securities filed a securities class

action complaint, captioned Kula v. Fastly, Inc., et al., Case No. 3:24-cv-03170 in the United

States District Court for the Northern District of California against Fastly, Kisling, and Nightingale

(the “Securities Class Action”). The Securities Class Action alleges that throughout the class

period of February 15, 2024 (the day after Fastly issued the February 2024 Press Release after

market hours) and May 1, 2024, Fastly, Nightingale, and Kisling made materially false and/or

misleading statements, failing to disclose material adverse facts about the Company’s business,

operations, and prospects.

                THE INDIVIDUAL DEFENDANTS’ MISCONDUCT
          DIRECTLY AND PROXIMATELY CAUSES DAMAGES TO FASTLY

        75.    As a result of the Individual Defendants’ improprieties, Fastly disseminated

improper public statements concerning its operations, prospects, and internal controls. This

misconduct has devastated Fastly’s credibility.

        76.    As a direct and proximate result of the Individual Defendants’ actions, Fastly has

expended and will continue to expend significant sums of money defending and paying any

settlement in the Securities Class Action.

        77.    As a direct and proximate result of the Individual Defendants’ actions as alleged

above, Fastly’s market capitalization has been substantially damaged, losing millions of dollars in

value because of the conduct described herein.

        78.    In addition, the actions of the Individual Defendants have irreparably damaged

Fastly’s corporate image and goodwill. For at least the foreseeable future, Fastly will suffer from

what is known as the “liar’s discount,” a term applied to the stocks of companies that have been




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implicated in illegal behavior and have misled the investing public, such that Fastly’s ability to

raise equity capital or debt on favorable terms in the future is now impaired.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       79.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and/or assisted each other in breaching their respective duties.

       80.     The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct were, among other things, to:          (i) facilitate and disguise the Individual

Defendants’ violations of law, including breaches of fiduciary duty and unjust enrichment; (ii)

conceal adverse information concerning the Company’s operations, financial condition, future

business prospects, and internal controls; and (iii) artificially inflate the Company’s stock price.

       81.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company purposefully, recklessly, or with gross

negligence to engage in improper accounting methods, conceal material facts, fail to correct such

misrepresentations, and violate applicable laws. In furtherance of this plan, conspiracy, and course

of conduct, Individual Defendants collectively and individually took the actions set forth herein.

The Individual Defendants described herein were direct, necessary, and substantial participants in

the common enterprise, and/or common course of conduct complained here because the actions

described herein occurred under the authority and approval of the Board.

       82.     Each of the Individual Defendants aided, abetted, and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in or

substantially assisted the accomplishment of that wrongdoing, and was or should have been aware

of his or her overall contribution to and furtherance of the wrongdoing.


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       83.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and Fastly and was at all times acting within the course

and scope of such agency.

             PLAINTIFF HAS BEEN A STOCKHOLDER SINCE THE
        ALLEGED WRONGDOING AND WILL FAIRLY AND ADEQUATELY
      REPRESENT THE COMPANY’S AND ITS STOCKHOLDERS’ INTERESTS

       84.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       85.     Plaintiff brings this action derivatively in the right and for the benefit of the

Company to redress the Individual Defendants’ misconduct.

       86.     Plaintiff is an owner of Fastly common stock and has been an owner of Fastly

common stock since the wrongdoing alleged herein.

       87.     Plaintiff will adequately and fairly represent the interests of the Company and its

stockholders in enforcing and prosecuting the Company’s rights.
                                     DEMAND IS FUTILE

       88.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       89.     At the time Plaintiff commenced this action, the Board consisted of the nine

Director Defendants: Nightingale, Bergman, Álvarez, Daniels, Hornik, Loop, Meyers, Paisley,

and Smith. The Director Defendants are incapable of making an independent and disinterested

decision to institute and vigorously prosecute this action.

       90.     As a result of the facts set forth herein, Plaintiff has not made any demand on the

Fastly Board to institute this action against the Individual Defendants. Such a demand would be

a futile and useless act because the Board is incapable of making an independent and disinterested

decision to institute and vigorously prosecute this action.




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        Demand Is Futile Because Each Member of the
        Board Faces a Substantial Likelihood of Personal Liability

        91.        The Director Defendants were directors throughout the time of the false and

misleading statements and, as such, had a fiduciary duty to ensure the accuracy of the Company’s

SEC filings, press releases, and other public statements and presentations concerning Fastly’s

business, operations, prospects, internal controls, and financial statements.

        92.        Moreover, the Director Defendants owed and owe a duty to, in good faith and with

due diligence, exercise reasonable inquiry, oversight, and supervision to ensure that the

Company’s internal controls were sufficiently robust and effective and were being implemented

effectively, and to ensure that the Board’s duties were being discharged in good faith and with the

required diligence and due care. Instead, the Director Defendants knowingly and/or with reckless

disregard reviewed, authorized, and/or caused the publication of the materially false and

misleading statements discussed above that caused the Company’s stock to trade at artificially

inflated prices.

        93.        The Director Defendants face a substantial likelihood of personal liability because

of their knowing and/or reckless authorization of false and misleading statements, their failure to

timely correct such statements, their failure to take necessary and appropriate steps to ensure that

the Company’s internal controls were sufficiently robust and effective and were being

implemented effectively, and their failure to take necessary and appropriate steps to ensure that

the Board’s duties were being discharged in good faith and with the required diligence. These

actions and failures constitute breaches of the fiduciary duties of loyalty and good faith, for which

the Director Defendants face a substantial likelihood of liability.

        94.        The Director Defendants also solicited the 2024 Proxy Statement asking its

stockholders to vote, among other things, to reelect defendants Hornik, Meyers, and Smith to the

Board in continued breach of their fiduciary duties.




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       95.     The Director Defendants further approved the 2024 Proxy Statement and, therefore,

face a substantial likelihood of personal liability because of the false and misleading statements

contained therein.

       96.     If the Director Defendants were to bring a suit on behalf of Fastly to recover

damages sustained as a result of this misconduct, they would expose themselves to significant

liability. For this reason, Plaintiff making a demand would be futile.

     The Audit Committee Defendants Face a Greater Likelihood of Personal Liability

       97.     The Audit Committee Defendants (Daniels, Loop, and Paisley), as members of the

Audit Committee during the Relevant Period, participated in and knowingly approved the filing of

false financial information. More specifically, as members of the Audit Committee, the Audit

Committee Defendants were obligated to review the Company’s annual and quarterly reports to

ensure their accuracy. Instead, the Audit Committee Defendants failed to ensure the integrity of

the Company’s financial statements and financial reporting process and its systems of internal

accounting and financial controls and other financial information provided by the Company, as

required by the Audit Committee Charter. For this reason, the Audit Committee Defendants

cannot exercise disinterested business judgment in considering a demand.

       The Insider Trading Defendants On the Board
       Face a Greater Likelihood of Personal Liability

       98.     Because of their positions as officers and/or Board members, each of the Insider

Trading Defendants (Nightingale, Kisling, Bergman, Daniels, and Paisley) possessed material

non-public information that: (i) contrary to its representations to investors, Fastly’s growth rate –

which had been temporarily accelerated by the 2023 CDN consolidation trend – was slowing down

among the Company’s largest customers; (ii) as a result, Fastly was unlikely to be able to maintain

its 2023 increased market share; (iii) the deaccelerated growth rate was likely to impact the

Company’s revenue growth in a materially negative way; (iv) accordingly, the Company was

unlikely to meet its previously issued revenue guidance for its full-year 2024; (v) Fastly had

inadequate internal controls, and (vi) as a result, the Individual Defendants’ positive statements



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about the Company’s business, operations, and prospects were materially false and misleading

and/or lacked a reasonable basis.

       99.     The Insider Trading Defendants unlawfully misused this information and unjustly

enriched themselves by selling their shares at artificially inflated prices. As a result, the Insider

Trading Defendants’ conduct harmed Fastly as the Insider Trading Defendants unjustly enriched

themselves at the Company’s expense. Accordingly, because this action asserts claims for unjust

enrichment against the Insider Trading Defendants, and because the Insider Trading Defendants

face a substantial likelihood of liability for these claims as well as for their breaches of fiduciary

duty to the Company, the Insider Trading Defendants are incapable of considering a demand to

commence and vigorously prosecute this action.
       Additional Demand Futility Allegations

       100.    Defendant Nightingale is not an independent director.             Nightingale is not

independent because he has served on the Board and as Fastly’s CEO since 2022. As such, the

2024 Proxy Statement explicitly states that Nightingale is not independent. Defendant Nightingale

received substantial compensation during the Relevant Period and continues to receive

compensation. For the Company’s fiscal year 2023, Nightingale received a base salary of

$600,000, almost $9 million in stock awards, and $586,200 in non-equity incentive plan

compensation for a total of almost $10.2 million. This amount is material to Nightingale, and

therefore, he would not be able to impartially consider a demand against the Director Defendants

who are members of Fastly’s Compensation Committee, and thus approve his executive

compensation. Accordingly, for these reasons and those described above and below, demand is

futile as to defendant Nightingale.

       101.    Nightingale is a named defendant in the Securities Class Action, which asserts

claims under the federal securities laws for violations of Sections 10(b) and 20(a) of the Exchange

Act, as well as SEC Rule 10b-5 promulgated under the Exchange Act. If the Company is found

liable in the Securities Class Action for these violations of the federal securities laws, the

Company’s liability will be in whole or in part due to Nightingale’s willful and/or reckless


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violations of his obligations as an officer and director of Fastly. Hence, Nightingale is incapable

of considering a demand to commence and vigorously prosecute this action because he faces an

even greater likelihood of personal liability than the rest of the Director Defendants.

       102.    Defendant Bergman is not an independent director. Bergman is not independent

because he has served as a member of the Board since March 2011 and as the Company’s CTO

since April 2024. Previously, he served as Fastly’s Chief Architect from February 2020 to April

2024, as its CEO from March 2011 to February 2020, and as Chair of the Board from February

2020 to April 2023. As such, the 2024 Proxy Statement explicitly states that Bergman is not

independent. Defendant Bergman received substantial compensation during the Relevant Period

and continues to receive compensation. For the Company’s fiscal year 2023, Bergman received a

base salary of $500,000, almost $5.3 million in stock awards, and over $6.6 million in options for

a total of almost $12.4 million. This amount is material to Bergman, and therefore, he would not

be able to impartially consider a demand against the Director Defendants who are members of

Fastly’s Compensation Committee, and thus approve his executive compensation. Accordingly,

for these reasons and those described above, demand is futile as to defendant Bergman.

       103.    Defendant Hornik has served as a member on the board of directors of Bill.com

since May 2016. Defendant Álvarez also serves as a member of Bill.com’s board of directors and

has done so since May 2022. This interpersonal or business connection renders defendants Hornik

and Álvarez incapable of independently or fairly considering the claims alleged herein.

       104.    Defendant Meyers has a longstanding relationship with defendant Paisley as

Meyers serves as the CEO and a director of Equinix, Inc. (“Equinix”) and has served in various

other executive positions at Equinix since 2010. Defendant Paisley has served as a director of

Equinix since 2007. This interpersonal or business connection renders defendants Meyers and

Paisley incapable of independently or fairly considering the claims alleged herein.




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                                 FIRST CAUSE OF ACTION
               Against the Individual Defendants for Breach of Fiduciary Duties

        105.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

        106.    Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of Fastly’s business and affairs.

        107.    Each of the Individual Defendants violated and breached his or her fiduciary

duties of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

        108.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company. The Individual Defendants

intentionally or recklessly breached or disregarded their fiduciary duties to protect the rights and

interests of Fastly.

        109.    In breach of their fiduciary duties owed and owe to Fastly, the Individual

Defendants willfully or recklessly made, or caused or permitted the Company to make, false and

misleading statements and omissions of material fact that failed to disclose, inter alia, that: (i)

contrary to its representations to investors, Fastly’s growth rate – which had been temporarily

accelerated by the 2023 CDN consolidation trend – was slowing down among the Company’s

largest customers; (ii) as a result, Fastly was unlikely to be able to maintain its 2023 increased

market share; (iii) the deaccelerated growth rate was likely to impact the Company’s revenue

growth in a materially negative way; (iv) accordingly, the Company was unlikely to meet its

previously issued revenue guidance for its full-year 2024; (v) Fastly had inadequate internal

controls, and (vi) as a result, the Individual Defendants’ positive statements about the Company’s

business, operations, and prospects were materially false and misleading and/or lacked a

reasonable basis.

        110.    Accordingly, Fastly’s public statements were materially false, misleading, and

lacked a reasonable basis during the Relevant Period, thereby causing the stock to trade at

artificially inflated prices.




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       111.    The Individual Defendants failed to and caused the Company to fail to rectify any

of the wrongs described herein or correct the false and misleading statements and omissions of

material fact referenced herein, thereby, rendering themselves personally liable to the Company

for breaching their fiduciary duties.

       112.    The Individual Defendants also failed to maintain an adequate system of oversight,

disclosure controls and procedures, and internal controls in breach of their fiduciary duties.

       113.    The Individual Defendants had actual or constructive knowledge that the Company

issued materially false and misleading statements, and they failed to correct the Company’s public

statements. The Individual Defendants had actual knowledge of the misrepresentations and

omissions of material facts set forth herein or acted with reckless disregard to the truth in that they

failed to ascertain and disclose such facts even though such facts were available to them. Such

material misrepresentations and omissions were committed knowingly or recklessly and for the

purpose and effect of artificially inflating the price of the Company’s securities.

       114.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent schemes set forth herein and to fail to

maintain adequate internal controls. The Individual Defendants had actual knowledge that the

Company was engaging in the fraudulent schemes set forth herein, and that internal controls were

not adequately maintained or acted with reckless disregard for the truth in that they caused the

Company to improperly engage in the fraudulent schemes and to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of the

Company’s securities. The Individual Defendants, in good faith, should have taken appropriate

action to correct the schemes alleged herein and to prevent them from continuing to occur.

       115.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.




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       116.     As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, Fastly has sustained and continues to sustain significant damages. As a

result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

                                SECOND CAUSE OF ACTION
                             Against the Individual Defendants for
                Violations of Sections 10(b) of the Exchange Act and Rule 10b-5

       117.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       118.     The Individual Defendants are liable to the Company because they violated

Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder by the SEC.

       119.     The Individual Defendants did the following while acting individually and

collectively:

                (a)    employed devises, schemes, and artifices to defraud;

                (b)    made untrue statements of material fact or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                (c)    engaged in acts, practices, and a course of business that operated as a fraud

                       or deceit upon the Company in connection with its purchases of Fastly

                       common stock during the Relevant Period.

       120.     As set forth above, the Individual Defendants disseminated or approved the

dissemination of material false and misleading statements while also failing to disclose material

facts necessary to make the statements made not misleading under the circumstances.

       121.     The Individual Defendants knew or recklessly disregarded facts showing that these

statements were false and misleading because they received or had access to such information.

       122.     As a result of the Individual Defendants making these materially false and

misleading statements or permitting them to be made, Fastly’s common stock traded at artificially

inflated prices during the Relevant Period.




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       123.     Accordingly, the Company has suffered damages because it paid artificially

inflated prices for Fastly common stock.

                                THIRD CAUSE OF ACTION
                         Against Defendants Nightingale and Kisling
              for Contribution under Sections 10(b) and 21D of the Exchange Act

       124.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       125.     Fastly along with defendants Nightingale and Kisling are named as defendants in

the Securities Class Action, which asserts claims under the federal securities laws for violations of

Sections 10(b) and 20(a) of the Exchange Act and SEC Rule 10b-5. If the Company is found liable

in the Securities Class Action for these violations of the federal securities laws, the Company’s

liability will be in whole or in part due to the Securities Class Action Defendants’ willful and/or

reckless violations of their obligations as officers and/or directors of Fastly.

       126.     Because of their positions of control and authority as officers and/or directors of

Fastly, defendants Nightingale and Kisling were able to and did, directly and/or indirectly, exercise

control over the business and corporate affairs of Fastly, including the wrongful acts complained

of herein and in the Securities Class Action.

       127.     Accordingly, defendants Nightingale and Kisling are liable under Section 10(b) of

the Exchange Act, 15 U.S.C. § 78j(b), which creates an implied private right of action for

contribution, Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the

application of a private right of action for contribution arising out of violations of the Exchange

Act.

       128.     As such, Fastly is entitled to receive all appropriate contribution or indemnification

from defendants Nightingale and Kisling.




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                                FOURTH CAUSE OF ACTION
                             Against the Individual Defendants for
              Violations of Section 14(a) of the Exchange Act and SEC Rule 14a-9
       129.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       130.     Rule 14a-9, promulgated pursuant to Section 14(a) of the Exchange Act, provides

that no proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       131.     The 2024 Proxy Statement violated Section 14(a) and Rule 14a-9 because it

solicited Fastly stockholder votes for, inter alia, director reelection, while simultaneously

misrepresenting and/or failing to disclose the Company’s shortcomings in connection with its

retention and addition of subscribers.

       132.     The Individual Defendants made untrue statements of material facts and omitted to

state material facts necessary to make the statements that were made not misleading in violation

of Section 14(a) and Rule 14a-9. By virtue of their positions within the Company and roles in the

process and in the preparation of the 2024 Proxy Statement, the Individual Defendants were aware

of this information and of their duty to disclose this information in the 2024 Proxy Statement.

       133.     The Individual Defendants knew that the statements contained in the 2024 Proxy

Statement were materially false and misleading.

       134.     The omissions and false and misleading statements in the 2024 Proxy Statement

are material in that a reasonable stockholder would consider them important in deciding how to

vote on the reelection of directors. Indeed, a reasonable investor would view a full and accurate

disclosure as significantly altering the “total mix” of information made available in the 2024 Proxy

Statement and in other information reasonably available to stockholders.

       135.     As a direct and proximate result of the dissemination of the false and misleading

2024 Proxy Statement that the Individual Defendants used to obtain stockholder approval of and



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thereby reelect directors, Nominal Defendant Fastly suffered damage and actual economic losses

(i.e., wrongful reelection of directors) in an amount to be determined at trial.

                                FIFTH CAUSE OF ACTION
                  Against the Individual Defendants for Unjust Enrichment

       136.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above as though fully set forth herein.

       137.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made or caused to be made, the Individual Defendants were

unjustly enriched at the expense of, and to the detriment of, Fastly.

       138.    The Individual Defendants benefitted financially from the improper conduct,

received unjustly lucrative bonuses tied to the false and misleading statements, and received

bonuses, stock options, or similar compensation from Fastly that was tied to the performance or

artificially inflated valuation of Fastly, or received compensation that was unjust in light of the

Individual Defendants’ bad faith conduct.

       139.    Plaintiff, as a stockholder and representative of Fastly, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits – including from

insider sales, benefits, and other compensation, including any performance-based or valuation-

based compensation – obtained by the Individual Defendants from their wrongful conduct and

breach of their fiduciary and contractual duties.

       140.    Plaintiff, on behalf of Fastly, has no adequate remedy at law.
                                SIXTH CAUSE OF ACTION
              Against the Individual Defendants for Waste of Corporate Assets

       141.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       142.    As a further result of the foregoing, the Company will incur many millions of

dollars of legal liability and/or costs to defend legal actions (evidenced, for example, by the




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Securities Class Action), to engage in internal investigations, and to lose financing from investors

and business from future customers who no longer trust the Company and its products.

          143.   As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

          144.   Plaintiff, on behalf of Fastly, has no adequate remedy at law.

                                SEVENTH CAUSE OF ACTION
                   Against the Individual Defendants for Aiding and Abetting

          145.   Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

          146.   Each of the Individual Defendants acted and is acting with knowledge of, or with

disregard to, the fact that the Individual Defendants are in breach of their fiduciary duties to Fastly

and has participated in a conspiracy in breach of fiduciary duties.

          147.   In committing the wrongful acts alleged herein, each of the Individual Defendants

has pursued, or joined in the pursuit of, a common course of conduct. The Individual Defendants

have acted in concert with and conspired with one another in furtherance of their common plan or

design. In addition to pursuing the wrongful conduct that gives rise to their primary liability, the

Individual Defendants also aided, abetted, and assisted each other in breaching their respective

duties.

          148.   The Individual Defendants collectively and individually initiated and followed a

course of conduct that violated the federal securities laws; authorized corporate actions to serve

their own personal interests rather than the interests of the Company and its stockholders;

misrepresented material facts about the Company, its financial condition, and business prospects;

prevented the disclosure of material information necessary to make statements complete and

accurate; and failed to implement and maintain an adequate system of internal controls and

corporate governance practices.

          149.   The purpose and effect of the Individual Defendants’ conspiracy, common

enterprise, and common course of conduct was, among other things, to disguise the Individual



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Defendants’ violations of law, including violations of the federal securities laws and breaches of

fiduciary duty.

       150.       Each of the Individual Defendants played a direct, necessary, and substantial part

in the conspiracy, common enterprise, and common course of conduct complained of herein.

       151.       Each of the Individual Defendants aided, abetted, and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, the Individual Defendants acted with

knowledge of the primary wrongdoing, substantially assisted the accomplishment of that

wrongdoing, and were aware of their overall contributions to and furtherance of the wrongdoing.

                                 EIGHTH CAUSE OF ACTION
                            Against the Insider Trading Defendants for
                       Insider Selling and Misappropriation of Information

       152.       Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       153.       At the time of their stock sales set forth herein, the Insider Trading Defendants

(Nightingale, Kisling, Bergman, Daniels, and Paisley) knew of the information described above

and sold Fastly common stock on the basis of such information.

       154.       The information described above was proprietary non-public information

concerning the Company. It was a proprietary asset belonging to the Company, which the Insider

Trading Defendants used for their own benefit when they sold Fastly common stock.

       155.       The Insider Trading Defendants’ sales of Company common stock while in

possession and control of this material adverse non-public information was a breach of their

fiduciary duties of loyalty and good faith.

       156.       Because the use of the Company’s proprietary information for their own gain

constitutes a breach of the Insider Trading Defendants’ fiduciary duties, the Company is entitled

to the imposition of a constructive trust on any profits that the Insider Trading Defendants obtained

thereby.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment as follows:

       A.      Declaring that Plaintiff may maintain this derivative action on behalf of Fastly and

that Plaintiff is a proper and adequate representative of the Company;

       B.      Awarding the amount of damages sustained by the Company as a result of the

Individual Defendants’ breaches of fiduciary duties and violations of the federal securities laws;

       C.      Ordering the Insider Trading Defendants to disgorge monies obtained as a result of

their sale of Fastly stock while in possession of insider information as described herein;

       D.      Awarding prejudgment interest to the Company;

       E.      Granting appropriate equitable relief to remedy Individual Defendants’ breaches of

fiduciary duties and other violations of law;

       F.      Awarding to Plaintiff the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees and costs and expenses; and

       G.      Granting such other and further relief as the Court deems just and proper.
                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.


 Dated: August 23, 2024                                 Respectfully submitted,

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